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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

 In re:                                              Chapter 11

 HO WAN KWOK,                                        Case No: 22-50073 (JAM)

                       Debtor.




          NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that the undersigned attorney hereby enters an appearance in the

above-captioned Chapter 11 case on behalf of the debtor, Ho Wan Kwok. Pursuant to and in

accordance with the Bankruptcy Code, and the Federal Rules of Bankruptcy Procedure, including

without limitation, Rules 2002, 3017, 9007 and 9010, the undersigned demands that all notices

given or required to be given in this case and all papers served or required to be served in this case,

be given to and served upon the undersigned at the address set forth below:

          John L. Cesaroni (ct29309)
          ZEISLER & ZEISLER, P.C.
          10 Middle Street, 15th floor
          Bridgeport, CT 06605
          Telephone: (203) 368-4234
          Facsimile: (203) 368-0903
          Email: jcesaroni@zeislaw.com

          PLEASE TAKE FURTHER NOTICE, that the foregoing request includes the notices and

papers referred to in the Bankruptcy Rules specified above and also includes, without limitation,

notices of any orders, plans, disclosure statements, operating reports, applications, complaints,

demands, hearings, motions, petitions, pleadings, or requests, and any other documents brought

before this Court in this case, whether formal or informal, whether written or oral, and whether
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transmitted or conveyed by mail, delivery, telephone, telegraph, telex or otherwise, which affects

the Debtor or the property of the Debtor.

       Dated at Bridgeport, Connecticut, this 14th day of July, 2022.



                                     By:     /s/ John L. Cesaroni
                                             John L. Cesaroni (ct29309)
                                             ZEISLER & ZEISLER, P.C.
                                             10 Middle Street, 15th floor
                                             Bridgeport, CT 06605
                                             Telephone: (203) 368-4234
                                             Facsimile: (203) 368-0903
                                             Email: aromney@zeislaw.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 14, 2022, a copy of foregoing Notice of Appearance and

Request for Service of Papers was filed electronically. Notice of this filing will be sent by e-mail

to all parties by operation of the Court’s electronic filing system or by mail to anyone unable to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.


                                      By:     /s/ John L. Cesaroni
                                              John L. Cesaroni (ct29309)
                                              ZEISLER & ZEISLER, P.C.
                                              10 Middle Street, 15th floor
                                              Bridgeport, CT 06605
                                              Telephone: (203) 368-4234
                                              Facsimile: (203) 368-0903
                                              Email: jcesaroni@zeislaw.com




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